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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:19-cv-00124-WJM-SKC
   Consolidated with Civil Action No. 1:19-cv-00758-WJM-SKC

   OREGON LABORERS EMPLOYERS PENSION TRUST FUND, Individually and On Behalf
   of All Others Similarly Situated,

         Plaintiff,

   v.

   MAXAR TECHNOLOGIES INC.,
   HOWARD L. LANCE, and
   ANIL WIRASEKARA


         Defendants.



          DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS THE
                          CONSOLIDATED COMPLAINT
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   I.      INTRODUCTION

           Plaintiff is accusing Maxar Technologies, Inc. (“Maxar” or the “Company”) and two

   individuals of defrauding investors. Given the severe pecuniary and reputational ramifications of

   such an allegation, Congress enacted (and the Supreme Court has consistently enforced) exacting

   pleading standards on such claims in order to survive a motion to dismiss. Here, Plaintiff falls far

   short of pleading securities fraud with the factual particularity required by controlling precedent.

           The Consolidated Complaint fails as a matter of law to plead particularized facts necessary

   to establish the required elements of falsity, scienter, and loss causation – any one of which requires

   dismissal. The Opposition ignores legal arguments advanced in the Motion to Dismiss, rests on

   meaningless rhetoric and unsupported legal conclusions (rather than particularized facts), and

   relies upon case law that is factually and legally distinguishable. Most importantly, Plaintiff fails

   to articulate any coherent (or even rational) theory of fraud. The far more cogent and compelling

   inference is that Maxar faced significant operational issues, those issues were timely disclosed to

   investors (as detailed in the Consolidated Complaint), and its officers worked diligently to address

   and resolve these challenges. It was these operational challenges, and not any alleged fraud, that

   led to the decline in stock price.

   II.     ARGUMENT

           A.      Plaintiff Fails To Allege A Material Misrepresentation Or Omission

                   1.      Defendants’ Statements Related To AMOS-8 Were Not Misleading
                           When Made

           With the benefit of hindsight, Plaintiff contends that Defendants should have disclosed that

   the AMOS-8 contract was “speculative” (a phrase that appears nowhere in the Consolidated

   Complaint), and that “the contract: (1) would only become effective upon first payment; (2) was


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   contingent upon Spacecom obtaining financing; and (3) had a penalty-free withdrawal period of

   60 days allowing Spacecom to void the transaction.” (Pl. Opp., ECF No. 57 (“Opp.”) at 6.) In

   making this argument, however, Plaintiff attempts to impose disclosure obligations that have no

   support in the law.

          Defendants are required to provide investors with enough information to ensure a

   disclosure is not misleading. Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011); see

   also Nakkhumpun v. Taylor, Civil Action No. 12-cv-01038-CMA-CBS, 2013 U.S. WL 5446081,

   at *12 (D. Colo. Sep. 30, 2013) (“disclosure is required . . . when necessary to make . . . statements

   made, in light of the circumstances in which they were made, not misleading”) (internal quotations

   omitted.) Indeed, “the question is whether the omission of facts rendered ‘what was revealed . . .

   so incomplete as to mislead.’” Nakkhumpun, 2013 WL 5446081, at *12 (quoting Hill v. Gozani,

   638 F.3d 40, 57 (1st Cir. 2011)). Defendants satisfied their legal obligations by disclosing that

   Spacecom selected, and entered into contract with, Maxar to build AMOS-8. That statement is,

   and was at the time it was made, indisputably true. (See Opp. at 6-7.)1

                  2.      Defendants’ Financial Statements Were Not False When Reported

          Next, Plaintiff conclusorily asserts that impairment accounting is “as simple as it gets[.]”

   (Opp. at 8.) The problem with Plaintiff’s argument is its premise; determining whether “any of

   th[e] indications [of impairment]” are present is itself a nuanced exercise involving accounting

   judgment.    The International Accounting Standards (“IAS”) involve subjective, qualitative


   1
     Plaintiff claims that because Defendants chose to speak about the AMOS-8 deal, they had a
   duty to disclose that the contract was contingent on financing. See Opp. at 6-7. But Defendants
   did not disclose any contract terms; Defendants stated only that Spacecom entered into a contract
   with Maxar to build AMOS-8—a statement that Plaintiff concedes was true. (See Opp. at 7)
   (arguing “literal truth”).)


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   indicators, such as whether the decline was “more than would be expected,” whether “significant

   changes [had] an adverse effect on the entity,” and whether losses were “significantly worse than

   those budgeted.” (See, e.g., CC ¶ 34 (citing IAS 36.12) (emphasis added); CC ¶ 36 (citing IAS

   36.14) (emphasis added).) These standards require an understanding of the impacted asset,

   knowledge of the industry, as well as the exercise of judgment. See In re Loral Space &

   Commc’ns. Ltd. Sec. Litig., No. 01 Civ. 4388 (JGK), 2004 WL 376442, at *17 (S.D.N.Y. Feb. 27,

   2004) (“whether the requirements of the accounting principles were satisfied, necessarily involved

   issues of judgment”); Thor Power Tool Co. v. Comm’r Internal Revenue, 439 U.S. 522, 544 (1979)

   (matters of accounting “tolerate a range of ‘reasonable’ treatments, leaving the choice among

   alternatives to management.”). Further undermining Plaintiff’s argument, the Company conducted

   impairment testing annually (see CC ¶ 188), routinely updated investors on the declining state of

   the GeoComm business (see generally CC ¶¶ 77-140), and took an impairment in Q3 2018 shortly

   after conducting a publicly disclosed investigation with the assistance of subject-matter experts.

   (CC ¶ 187). None of this is not indicative of fraud.2



   2
     Plaintiff’s argument that “courts routinely reject Defendants’ ‘fraud by hindsight’ argument”
   misses the mark. (Opp. at 8-9.) Defendants did not argue fraud by hindsight because the
   financial statements were never false. (See Mot. at 12 (arguing that a disagreement involving
   accounting judgment does not constitute fraud).) In any event, the cases Plaintiff cites are easily
   distinguishable. See Zwick Partners, LP v. Quorum Health Corp., No. 3:16-CV-2475, 2018 WL
   2933406, at *4-7 (M.D. Tenn. Apr. 19, 2018) (allegations regarding company’s spin-off showed
   a clear motivation to improperly delay impairment); Dudley v. Haub, No. 2:11-CV-05196 WJM,
   2013 WL 1845519, at *11 (D.N.J. Apr. 30, 2013) (delayed impairment of subsidiary was a
   misstatement where there had been “enormous, ‘sustained operating losses,’” and where reported
   goodwill of that subsidiary “exceeded the market’s valuation of the entire Company.”)
   (Emphasis in original); Davidco Inv'rs, LLC v. Anchor Glass Container Corp., No.
   8:04CV2561T-24EAJ, 2006 WL 547989, at *3 (M.D. Fla. Mar. 6, 2006) (detailed confidential
   witness allegations regarding contemporaneous effects of terminated contract on business,
   including that it accounted for 50% of plant production and sales); In re Atlas Air Worldwide


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                  3.     Defendants’ Statements Regarding WorldView-4 Were Not False
                         When Made

          Plaintiff claims that “WorldView-4 malfunctioned no later than October 12, 2018,” (Opp.

   at 9), because the TLE data “became erratic and volatile[.]” (CC ¶ 148.) But Plaintiff alleges that

   WorldView-4 became inoperable when it “experienced CMG failure”—something Plaintiff

   concedes the TLE data does not show. (See CC ¶ 146 (emphasis added).) Plaintiff contends that

   Defendants’ statements about WorldView-4 were misleading “because they gave investors the

   impression that WorldView-4 was still a fully-functioning satellite.” (Opp. at 9-10.) Neither the

   Consolidated Complaint nor Plaintiff’s Opposition even attempts to describe any connection

   between the TLE data and CMG functionality.

          Plaintiff argues that Defendants’ statements are not protected by the PSLRA “safe harbor”

   because they represent a “present falsehood.” (See Opp. at 9-11.) Again, Plaintiff fails to plead

   any particularized facts to suggest that the operational issues relating to WorldView-4 occurred

   prior to the alleged misstatements at issue. The analysis can and should end here. Unlike the

   cases on which Plaintiff relies, the challenged statements do not “relate[ ] to non-forward looking

   aspects of the statement” and are not “statements of current or historical fact.” (See Opp. at 10

   (citing In re Gold Res. Corp., 957 F. Supp. 2d 1284, 1295 (D. Colo. 2013); Mishkin v. Zynex Inc.,

   2011 WL 1158715, at *5 (D. Colo. Mar. 30, 2011).)




   Holdings, Inc. Sec. Litig., 324 F. Supp. 2d 474, 486 (S.D.N.Y. 2004) (company issued
   restatement, which is “sufficient basis for pleading that those statements were false when
   made”); In re Leapfrog Enter. Sec. Litig., 237 F. Supp. 3d 943, 954 (N.D. Cal. 2017)
   (“Defendants justified the long-lived impairment write-off in 4Q based on an obvious stock
   decline, but that stock decline was obvious as of 3Q”).


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           Plaintiff also argues that Defendants’ statements relating to “opportunities” are not

   “expressions of hope, but rather affirmative misrepresentations bearing on the existing

   functionality of the satellite.” (See Opp. at 11.) But again, Plaintiff has not pled (or even argued)

   that the TLE data showed that WorldView-4 was inoperable; in other words, the Consolidated

   Complaint does not plead that any public statements were “undermine[d]” by contemporaneous

   “material, nondisclosed information.” (See Opp. at 11 (citing In re SemGroup Energy Partners,

   L.P., 729 F. Supp. 2d 1276, 1294 (N.D. Okla. 2010).) To the contrary, Defendants’ statements are

   precisely the type of disclosures that are consistently protected under the federal securities laws.

   See Grossman v. Novell, Inc., 120 F.3d 1112, 1120-21 (10th Cir. 1997) (collecting cases and noting

   that statements that the company was “poised to carry the growth and success of 1991 well into

   the future” are statements of puffery); Smallen v. W. Union Co., No. 17-cv-00474-KLM, 2019 WL

   1382823, at *7 (D. Colo. Mar. 27, 2019) (holding that statements about the company’s

   commitments were inactionable puffery).

           B.      Plaintiff Fails To Allege Scienter

           The element of scienter is a critical component of this case. Publicly-traded companies can

   – and sometimes do – issue disclosures that later turn out to be incorrect. Those disclosures may

   result in a decline in stock price. But it is scienter – the intent to defraud (or deliberate recklessness

   as to the truth or falsity of a disclosure) – that transforms an innocent misstatement into securities

   fraud. As a matter of federal law and established Supreme Court precedent, scienter must be pled

   with factual particularity; the required “strong inference” of scienter must be at least as “cogent”

   and “compelling” as the competing non-fraud inference. Tellabs, Inc., v. Makor Issues & Rights,




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   Ltd., 551 U.S. 308, 324 (2007). Plaintiff comes nowhere close to satisfying that burden in this

   case.

                  1.     Plaintiff Fails To Allege A Strong Inference Of Scienter With Respect
                         To Statements Related To AMOS-8

           Plaintiff argues that the Consolidated Complaint establishes that Lance and Wirasekara

   knew that the AMOS-8 contract was “not definitive” in March and May 2018, based on their

   “intimate knowledge” about the terms of the AMOS-8 contract, the fact that they “monitored” the

   financial performance of SSL and the GeoComm business, and the decrease in GeoComm awards.

   (Opp. at 12-13.) None of these arguments is supported by particularized facts.

           Even if Lance and Wirasekara had “intimate knowledge” (a meaningless and conclusory

   phrase) about the downturn in the GeoComm business and the market decline (CC ¶¶ 90, 97), that

   does not create a “strong inference” of scienter. Simply stated, there are no well-pled facts that

   give rise to a strong inference that Defendants knew that the Company’s statements about it being

   selected to build the AMOS-8 satellite were false when made. See Anderson v. Spirit Aerosystems

   Holdings, Inc., 827 F.3d 1229, 1246 (10th Cir. 2016) (knowledge of company’s core operations

   and ability to achieve forecasted schedules and cost reductions insufficient to establish that

   defendants knew that the projects were unlikely to meet forecasts); MHC Mut. Conversion Fund,

   L.P. v. Sandler O’Neill & Partners, L.P., 761 F.3d 1109, 1122 (10th Cir. 2014) (allegation that

   defendants attended meetings where market conditions and disclosures were discussed does not

   suggest cogent inference of scienter); Sorkin, LLC v. Fischer Imaging Corp., No. Civ-A. 03-CV-

   00631-R, 2005 WL 1459735, at *10 (D. Colo. June 21, 2005) (same).

           Plaintiff’s argument that Defendants “quietly deleted the AMOS-8 contract from its

   website listing definitive GeoComm awards” fares no better. (Opp. at 12-13.) Foundationally,


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   there are no particularized facts suggesting that either Lance or Wirasekara had any knowledge of,

   much less any involvement in, posting (or for that matter, “quietly delet[ing]” posts) on the

   Company’s website. Plaintiff is thus asking the Court to infer the very facts it is required by law

   to plead with factual particularity. In the end, this argument does not create any inference – much

   less the required “strong inference” – that Defendants acted with scienter at the time they informed

   investors that the Company had entered into a contract with Spacecom. Plaintiff does not and

   cannot allege that Defendants told investors that AMOS-8 was a definitive contract, and the fact

   that it ultimately fell through (because of Spacecom’s actions, not Defendants’ conduct), does not

   mean that Defendants intended to defraud investors.

                  2.      Plaintiff Fails To Allege A Strong Inference Of Scienter With Respect
                          To The GeoComm Impairment

          Plaintiff aggressively argues that Defendants knew the 1Q18 and 2Q18 financial statements

   were false because of the alleged “indictors of impairment” that existed at the time those financial

   statements were issued. (Opp. at 14.) But the authorities on which Plaintiff relies involve

   concealed facts that had very obvious and far more profound accounting implications—unlike the

   alleged “indicators” here. See In Re Scottish Re Group Sec. Litig., 524 F. Supp. 2d 370, 378

   (S.D.N.Y. 2007) (complaint adequately alleged scienter where defendants knew of and failed to

   disclose negative tax consequences of securitization transaction); Davidco Inv’rs, LLC v. Anchor

   Glass Container Corp., 2006 WL 547989, at *20 (M.D. Fla. Mar. 6, 2006) (complaint adequately

   alleged scienter where it included detailed confidential witness allegations regarding impact of

   terminated contract); In Re Atlas Air Worldwide Holdings, Inc. Sec. Litig., 324 F. Supp. 2d 474,

   489-90 (S.D.N.Y. 2004) (complaint adequately alleged scienter where failure to take impairment




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   resulted in restatement of such magnitude that it transformed company’s earnings of $185 million

   to a deficit of $178 million).

          It is beyond dispute that Defendants regularly informed the investing public of the

   challenges facing the GeoComm business; indeed, the Consolidated Complaint extensively details

   these very disclosures. (See CC ¶¶ 90, 93, 100-102, 108, 111, 134, 136, 137.) Plaintiff argues that

   these (repeated) disclosures are insufficient to rebut its scienter allegations. (Opp. at 17.) In

   making this argument, however, Plaintiff ignores not only the applicable case law, but common

   sense. For instance, Plaintiff attempts to distinguish In re Loral Space & Commc’ns. Ltd. Sec.

   Litig., where the Court rejected the assertion that failing to take an impairment charge was

   indicative of scienter because the company disclosed the “evolving poor performance” of the

   business. 2004 WL 376442, at *17 (S.D.N.Y. Feb. 27, 2004). But the Loral case is directly on

   point. In that case, the Court held that the allegations did not give rise to scienter “particularly in

   view of the disclosures of the ongoing poor performance.” Id. That holding applies with equal

   force here. Defendants consistently updated the investing public on the declining state of the

   business, which is entirely inconsistent with what one would expect from someone perpetrating a

   fraud. (See CC ¶¶ 90, 93, 100-102, 108, 111, 134, 136, 137.)

          Finally, Plaintiff claims that the sheer size of the impairment is indicative of scienter. That

   argument is inconsistent with the allegations in the Consolidated Complaint and unsupported by

   the law. (Opp. at 18.) As alleged, the Company’s $383.6 million impairment charge to property,

   plant and equipment, intangible assets and inventory in 3Q18 was 13% of the Company’s value

   for those assets in 2Q18. (CC ¶¶ 9, 187.) The cases upon which Plaintiff relies are (again) easily

   distinguishable. See Brasher v. Broadwind Energy, Inc., No. 11 Civ. 991, 2012 WL 1357699, at



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   *23 (N.D. Ill. Apr. 19, 2012) (impairment constituted 63% of goodwill and intangible assets);

   Local 703, I.B. of T. Grocery & Food Emps. Welfare Fund v. Regions Fin. Corp., No. 10-2847-

   IPJ, 2011 U.S. Dist. Lexis 60761, at *29 (N.D. Ala. June 7, 2011) ($6 billion goodwill write-down

   after the purchase of stock where $6 billion of the purchase price was attributed to goodwill).

                  3.      Plaintiff Fails To Allege A Strong Inference Of Scienter With Respect
                          To Statements Related To WorldView-4

          Plaintiff argues that “around-the-clock monitoring” of WorldView-4 “must have revealed

   that WorldView-4 . . . had lost stability.” (Opp. at 20.) This sheer speculation is not supported by

   particularized facts. But even if Plaintiff’s assertion had factual support (it does not), it is still

   fundamentally flawed: the only alleged indication of instability (not inoperability) occurred on

   October 12, 2018, when the TLE data became erratic and volatile. Plaintiff concedes that the TLE

   data does not provide information about the components of a satellite, including the CMGs, which

   ultimately led to the satellite’s inoperability. (See CC ¶¶ 144, 146, 198.) The Opposition offers

   no response to this obvious disconnect in Plaintiff’s fraud theory.

                  4.      Plaintiff’s “Additional Allegations” Fail

          Plaintiff’s “additional” scienter arguments do not (and cannot) remedy the fatal

   deficiencies in the Consolidated Complaint. Plaintiff argues that Lance and Wirasekara were

   motivated to commit fraud because not taking the impairment would result in long term

   compensation that was “directly tied to the Company’s stock price.” (Opp. at 20.) However, even

   Plaintiff concedes that to plead scienter through “motive and opportunity,” it must plead “that

   defendants benefitted in some concrete and personal way from the purported fraud.” (Opp. at 21.)

   The desire to protect the value of the Company’s stock – a motivation that can be attributed to any

   corporate officer and which enhances shareholder value – does not establish that Lance and


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   Wirasekara benefitted in some “concrete and personal way.” See City of Phila. v. Fleming Cos.

   Inc., 264 F.3d 1245, 1269 (10th Cir. 2001) (desire to protect value of stock is insufficient to

   establish motive for fraud because it is a motive shared by all company executives); Novak v.

   Kasaks, 216 F.3d 300, 307 (2d Cir. 2000) (allegations of motive insufficient where plaintiff pled

   that defendants “desire[d] to maintain a high stock price in order to increase executive

   compensation or prolong the benefits of holding corporate office”).

             Moreover, the Company’s decision to replace its auditor and hire another to conduct an

   internal investigation is no more indicative of fraud than it is good corporate governance. Plaintiff

   contends that the resignation “one week after Defendants were caught cooking the books” is

   indicative of scienter. (Opp. at 21.) But Lance signed the “Notice of Change of Auditor” on

   August 1, 2018—one week before the publication of the Spruce Report. (RJN, Ex. 20.) Further,

   the Spruce Report did not “catch” Defendants doing anything, much less “cooking the books”—a

   factually baseless and inflammatory phrase Plaintiff utters throughout the Opposition. (See Opp.

   at 2, 21, 22.) The Company never restated its financial statements, and even if it had, that still

   would not establish scienter. See Cheng Jiangchen v. Rentech, Inc., No. CV-17-1490, 2018 WL

   4802058, at *10 (C.D. Cal. June 7, 2018); Yates v. Municipal Mortg. & Equity, LLC, 744 F.3d

   874, 889 (4th Cir. 2014) (“The dismissal of an accounting firm around the time of a restatement is

   not surprising”); Zucco Partners LLC v. Digimarc Corp., 552 F.3d 981, 1002 (9th Cir. 2009)

   (same).

             The launch of a so-called “secret investigation” (Opp. at 21 n.6) – which was fully

   disclosed and, thus, not “secret” – further undermines Plaintiff’s fraud theory. See In re Gold

   Corp. Sec. Litig., 776 F.3d 1103, 1115 (10th Cir. 2015) (“It is certainly plausible that a prudent



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   executive would want to investigate and confirm a claimed discrepancy before disclosing it

   publicly.”) (citing Higginbotham v. Baxter Int’l, Inc., 495 F.3d 753, 755 (7th Cir. 2007) (delaying

   the disclosure of an investigation by two months was not indicative of fraud but instead

   demonstrated a “pursuit of truth”).       It is beyond dispute that the Company disclosed its

   comprehensive investigation (and its results) on August 24—less than three weeks after the release

   of the Spruce Report. (CC ¶ 179 (“[I]t is possible that an impairment or write-down will be

   recognized in the third quarter of 2018.”).) Far from supporting a fraud claim, this reflects a desire

   to search for and disclose the truth. See Andropolis v. Red Robin Gourmet Burgers, Inc., 505 F.

   Supp. 2d 662, 678-79 (D. Colo. 2007); Higginbotham, 495 F.3d at 758.

          Plaintiff next contends that the Company’s $3.2 billion loan supports an inference of

   scienter because Defendants were aware that a material adverse event relating to impaired assets

   could result in the event of a default. (Opp. at 21.) Courts routinely reject allegations of such

   “business motives” as indicia of scienter. See, e.g., City of Phila., 264 F.3d at 1269 (desire to

   maintain high bond or credit ratings, desire to raise capital, or protect company assets insufficient

   to raise an inference of scienter, otherwise “virtually every company in the United States” could

   be forced to defend securities fraud actions).

          Finally, Plaintiff’s allegations about Lance and Wirasekara’s high-ranking positions are

   not particularized, and can be alleged against any executive in the country. (Opp. at 21.) The sole

   case on which Plaintiff relies states that a defendant’s position is “a factor” that could be weighed

   in the “totality of the allegations regarding [ ] scienter.” W. Palm Beach Firefighters’ Pension

   Fund v. Startek, Inc., 2008 WL 879023, at *16 (D. Colo. Mar. 28, 2008). But that case cites the

   Tenth Circuit’s decision in Adams v. Kinder-Morgan, Inc., which unequivocally holds that



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   “standing alone, the fact that a defendant was as senior executive in a company cannot give rise to

   a strong inference of scienter[.]” 340 F.33 1083, 1106 (10th Cir. 2003). Given the totality of the

   allegations here, Lance and Wirasekara’s positions at the Company add nothing to the scienter

   analysis. See e.g., In re Home Loan Servicing Solutions, Ltd. Sec. Litig., 2016 WL 10592320, at

   *5 (S.D. Fla. June 6, 2016) (“Merely holding a high level position is not a compelling indicia of

   scienter.”); See also Morgensen v. Body Cent. Corp., 15 F. Supp. 3d 1191, 1224 (M.D. Fla. 2014)

   (same).

                    5.     The Non-Fraudulent Inference is Far More Compelling

             The Court must consider competing non-fraudulent inferences as a matter of controlling

   Supreme Court precedent. Tellabs, 551 U.S. at 314. As noted, to adequately plead securities fraud,

   the strong inference of scienter must be “cogent” and “at least as compelling” as the non-fraudulent

   inference. Id. But weighing the inferences in this case raises more questions than the Consolidated

   Complaint can possibly answer. There are no allegations that either Defendant engaged in insider

   trading, or stood to personally benefit from any alleged fraud. Far from concealing the impaired

   asset, the Consolidated Complaint devotes 10 paragraphs to describing the contemporaneous

   disclosures Defendants made about the declining state of the GeoComm business. When the

   Spruce Report was published, Defendants engaged outside experts, conducted a thorough

   investigation, and issued a Comprehensive Response. Notwithstanding the fact that Maxar

   suffered a stock price decline during the alleged class period, these facts powerfully demonstrate

   that there was no fraud. Under the Supreme Court’s seminal decision in Tellabs, the Court must

   consider these competing inferences when assessing scienter.




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          C.      Plaintiff Fails To Allege Loss Causation

                  1.      The August 7 Spruce Point Capital Report

          Plaintiff argues that the August 7, 2018 Spruce Report is “corrective” notwithstanding the

   fact that it consisted solely of public information. (Opp. at 23.) This argument flatly ignores the

   “efficient market” theory upon which Plaintiff pleads its case. (CC ¶ 252.) Indeed, in the cases

   Plaintiff cites, the reports revealed key information that was not publicly available, or required

   expert analysis that was “beyond the ken of most investors.” See Turner Ins. Agency, Inc. v.

   Farmland Partners Inc., No. 18-CV-02104, 2019 WL 2521834, at *7 (D. Colo. June 18, 2019)

   (analyst report revealed “the identity of the borrowers” where plaintiff alleged misstatements

   regarding loans provided by the defendant company); Norfolk Cty. Ret. Sys. v. Cmty. Health Sys.,

   877 F.3d 687, 697 (6th Cir. 2017) (analyst reports were “beyond the ken of most investors” because

   they “compared Community’s inpatient admissions to those of other hospitals, and separately

   concluded [ ] Community systematically admitted [ ] inpatients . . . in a manner that was clinically

   improper”); see also Pub. Emples. Ret. Sys. of Miss. v. Amedisys, Inc., 769 F.3d 313, 323 (5th Cir.

   2014) (“it is plausible that, as the Appellants allege, the efficient market was not aware of the

   hidden meaning of the Medicare data that required expert analysis, especially where the data itself

   is only available to a narrow segment of the public and not the public at large”).

                  2.      Maxar’s August 24, 2018 Press Release

          With regard to the Company’s August 24, 2018 Comprehensive Response to the Spruce

   Report, Plaintiff’s argument rests (again) on a faulty premise: specifically, that “Maxar’s

   comprehensive report confirmed Spruce Point’s conclusion that a material SSL impairment was

   possible.” (Opp. at 24.) Plaintiff mischaracterizes the record and misstates its own allegations.



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   The investigation found “no material errors in the previously issued financial statements and

   disclosures under IFRS.” (Murphy Decl. Ex. 13, p. 1.) The language cited in the Consolidated

   Complaint, which Plaintiff aggressively argues in the Opposition “confirmed Spruce Point’s

   conclusion,” was pulled from a section of the report that was not discussing the investigation, but

   instead, strategic alternatives the Company was considering at the time. (See Murphy Decl. Ex.

   13, p.3 (discussing various “strategic alternatives” and that “the Company expects that under

   certain scenarios, non-cash write-downs or an impairment of assets could occur”).)

                  3.      The Israeli Ministry of Science September 3, 2018 Press Release

          On this issue, the Opposition relies on Plaintiff’s own mischaracterization of the alleged

   misstatements. None of the challenged statements disclosed any details of the agreement between

   Maxar and Spacecom; Plaintiff’s contention that the September 3, 2018 announcement by the

   Israeli Ministry of Science and Technology was corrective because it “signaled that Maxar’s

   receipt of Spacecom’s long-awaited down payment” therefore fails. (Opp. at 24.) See Nardy v.

   Chipotle Mexican Grill, Inc., No. 17-cv-01760, 2019 WL 3297467, at *13 (D. Colo. Mar. 29,

   2019) (dismissing corrective disclosures because they did not reveal the alleged fraud).

                  4.      Spacecom’s September 25, 2018 Tel Aviv Stock Exchange Filing

          Plaintiff argues that the September 25, 2018 Tel Aviv Stock Exchange filing is corrective

   because “loss causation may be premised on partial revelations.” (See Opp. at 25 (citing See W.

   Palm Beach Firefighters’ Pension Fund v. Startek, Inc., 2008 WL 4838671, at *7 (D. Colo. Nov.

   6, 2008).) But according to Plaintiff, there was nothing left to reveal on the date of this disclosure.

   Plaintiff argues that the September 3 “corrective disclosure” revealed that “the Israeli government

   [and not SSL] intended to both build AMOS-8 in Israel and fund the project[.]” (Opp. at. 24.)



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   That is the same “revelation” as the September 25 statement that Plaintiff says revealed that

   “[Spacecom] did not intend to proceed with the contract.” (Opp. at 25.)

                  5.      Maxar’s October 31, 2018 Form 6-K

          Plaintiff contends that “Defendants make no meaningful attempt to rebut the loss causation

   allegations regarding the October 31, 2018 corrective disclosure.” (Opp. at 24.) But it is Plaintiff

   who has failed to plead facts showing that the October 31 disclosure revealed the truth of any false

   statement. (See Mot. at 25 (citing In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1130, 1140

   (10th Cir. 2009).) The Opposition does no more than cite a disclosure and a subsequent stock

   drop; that is insufficient as a matter of controlling Supreme Court precedent. See Dura Pharm.,

   Inc. v. Broudo, 544 U.S. 336, 342 (2005).

                  6.      Maxar’s January 7, 2019 Press Release

          Finally, Plaintiff contends that the January 7, 2019 announcement that WorldView-4 could

   no longer produce usable imagery led to a stock drop. As noted above, Plaintiff’s theory regarding

   WorldView-4’s component issue fails because neither the Consolidated Complaint nor Plaintiff’s

   Opposition describe any connection between TLE data that became erratic in October 2018 and

   CMG functionality that ultimately caused the inoperability of WorldView-4.            Accordingly,

   Plaintiff’s loss causation allegations regarding WorldView-4 do not establish that the January 7,

   2019 Press Release “corrected” any prior misstatements and “caused the resulting decline in

   price.” In re Williams, 558 F.3d at 1140.

   III.   CONCLUSION

          For the reasons set forth above and the Motion to Dismiss, Defendants respectfully request

   that the Court dismiss the Consolidated Complaint in its entirety.




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    Dated: February 20, 2020             Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

   The undersigned certifies on this 20th day of February 2020, a true and correct copy of the
   foregoing) DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS THE
   CONSOLIDATED COMPLAINT was filed with the Clerk of the Court using the CM/ECF
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